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  If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
  confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the bankruptcy
  court. The bankruptcy court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy
  Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.
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